



   On Order to Show Cause
  


  PER CURIAM.
 

  This court issued an order to show cause directing Mr. Malcolm to demonstrate why he should not be barred from filing further appeals in Eleventh Judicial Circuit Court case numbers 96-19774 and 03-30598. Having considered Mr. Malcolm’s response, we conclude that he is abusing the judicial process and should be barred from further pro se filings in case numbers 96-19774 and 03-30598. Any further pleadings regarding these cases will be summarily rejected by the Clerk, unless they are filed by a member in good standing of The Florida Bar.
  
   See Steele v. State,
  
  14 So.3d 221 (Fla.2009).
 
